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 Attorney or Party Name, Address, Telephone & FAX                   FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

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                                                                                                 CLERK U.S. BANKRUPTCY COURT
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     Individual appearing without attorney
     Attorney for: Debtor and Debtor-in-Possession

                                   UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 In re:                                                             CASE NO.: 2:23-bk-12747-VZ
 JONG UK BYUN
                                                                    CHAPTER: 11


                                                                           ORDER GRANTING MOTION TO
                                                                         CONFIRM PLAN OF REORGANIZATION

                                                                                [11 U.S.C. § 1129; FRBP 3020(b)]

                                                                    Hearing Information
                                                                DATE: February 8, 2024
                                                                TIME: 11:00 a.m.
                                                                COURTROOM: 1368, Roybal Federal Building
                                                     Debtor(s). ADDRESS: 255 E. Temple Street, Los Angeles, CA 90012


1. Disclosure Statement and Plan of Reorganization.
    a. Disclosure Statement: Pursuant to FRBP 3016(b), a Disclosure Statement and Plan of Reorganization (the “DS
       and Plan”) was filed as docket entry # 160. The DS and Plan are combined in one document to avoid confusion
       and contradiction. Sections I – VII and XI of the DS and Plan constitute the disclosure statement (the “DS”).
    b. Plan of Reorganization: Sections VIII - X of the DS and Plan constitute the plan of reorganization (the “Plan”).
2. Motion to Confirm Plan. Pursuant to FRBP 9014(a), the Debtor filed a motion requesting the court to confirm the Plan
   (“Motion to Confirm Plan”). The Motion to Confirm Plan was served on the U.S. trustee as required by FRBP
   9034(i), and on parties in interest who filed a preliminary objection to confirmation of the Plan.
3. Hearing on Motion to Confirm Plan. 11 U.S.C. § 1128 requires a hearing on the Motion to Confirm Plan to determine if
   the Plan meets certain legal requirements, especially Bankruptcy Code §§ 1121-1129. A hearing on the Motion to
   Confirm Plan was set on 21 days of notice pursuant to LBR 9013-1(d). In addition, on (date) 08/24/2023, the DS and
   Plan was served on at least 42 days of notice on the U.S. trustee and all claimants along with a Notice of Dates
   Related to Confirmation and Deadlines to (A) Submit Ballots, (B) File Preliminary Objection to Plan Confirmation, and
   (C) File Response to Motion to Confirm Plan (the “Notice of Deadlines”).


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4. Order: Based on the findings and conclusions made on the record at the hearing, IT IS ORDERED:

   a. The Motion to Confirm Plan is GRANTED;

           (Optional): Supplemental findings of fact and conclusions of law are attached as Exhibit A;

   b. Post-confirmation Status Conference:

        1. Hearing: (Date) 8/22/2024 at 10:00 a.m. is set for a post-confirmation status conference;

        2. Status Report: (Date) 8/8/2024 is the deadline for the Debtor to file and serve (on all creditors and the U.S.
           trustee) a post-confirmation status report. The Debtor must follow this court’s “Instructions for Filing First
           Status Report Regarding Consummation of Confirmed Plan” that are found on this court’s webpage at
           www.cacb.uscourts.gov.

   c.   Motion to Close Case. When the bankruptcy is ready to be closed, either via a final decree or order closing case
        on an interim basis, the Debtor must file and serve (on all creditors and the U.S. trustee), a motion using LBR form
        F 3022-1.1.MOTION.CLOSE.CH11.CASE. The Debtor may set a hearing under LBR 9013-1(d) or use the
        procedure of LBR 9013-1(o). At the appropriate time, lodge LBR form F 3022-1.1.ORDER.CLOSE.CH11.CASE.

   d.      Other: The following modifications supersede the provisions of the Plan:

            1. The Plan is modified in accordance with the amendments set forth in the Debtor’s Motion for Order
               Approving Non-Material Modifications to Debtor’s Second Amended Chapter 11 Plan (Docket No. 161)
               approved by order granted concurrently with this Order. This Order incorporates by reference the
               Stipulation Regarding Plan Treatment for Holders of Claims 8, 9, 10 & 11 and Consent to Plan Treatment
               (Docket No. 156) and the Order Approving Stipulation Regarding Plan Treatment for Holders of Claims 8,
               9, 10 & 11 and Consent to Plan Confirmation (Docket No. 158).

            2. Furthermore, the Plan incorporates the modifications to the claim and treatment of the claim of the San
               Bernardino County Tax Collector as set forth in, and in accordance with, the “Stipulation Regarding
               Amended Claim and Plan Treatment for Creditor San Bernardino County Tax Collector [Classes 2b and
               4e]” filed at Docket No. 169 (the “San Bernardino Stipulation”), and approved by the Court in the Order
               entered on February 8, 2024, at Docket No. 171. This Order incorporates by reference the San Bernardino
               Stipulation and entered Order approving the San Bernardino Stipulation (Docket No. 171).

            3. Lastly, the priority claim of the IRS (Claim No. 4-2) in the amount of $2,009,772.82 is to be paid within 36
               months of the effective date of the plan with interest at the rate of 8% as required under 11 U.S.C. Sec.
               511. The amount of the monthly payments which will be tendered before the balloon payment is
               $10,955.00, to begin on the first day of the first full month after the Effective Date.




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                Any demand for payoff from escrow or other designated agent of Debtor and payments to the IRS made
                pursuant to the confirmed plan should be sent directly to the United States Attorney’s Office at:

                U.S. Attorney’s Office – Tax Division
                Attn: AUSA Angela N. Gill
                300 Los Angeles St., Room 7211
                Los Angeles, CA 90012

                The payment shall be made payable to the “United States Treasury,” and state in the memo line the
                Debtor’s name and case number.



                                                         ###




                Date: February 16, 2024




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